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Attomeys for Plaintiff


                    IN THE LTNITED STATES DISTRICT COURT

                          I.OR TI"IE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                  ) No.   3 :2 l   -cr-00085-SLG-MMS
                                            )
                     Plaintiff,             )
                                              PLEA AGREEMENT
                                            )
        vs.
                                            )
                                            )
 MELVINANDREW,
                                            )
                     Defendant.             )
                                            )

              Unless the parties jointly inform the Court in writing of
              any additional agreements, this document in its entirety
              contains the terms ofthe plea agreement between the
              defendant and the United States. This agreement is
              limited to the District of Alaska; it does not bind other
              federal, state, or local prosecuting authorities.




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I.      SUMMARY OF AGREEMENT, FEDERAL RULE OF CRIMINAL
        PROCEDURE 11

        A.           Summary of Agreement

        The defendant agrees to plead guilty to the following count(s) ofthe Indictment in

this case:   I   - Coercion and Enticement of a Minor, in violation of l8U.S.C. I2422(b).

The United States agrees to dismiss Counts 2, 3, and 4 of the Indictment. The parties are

free to recommend to the Court their respective positions on the appropriate sentence to

be imposed. The United States agrees not to prosecute the defendant further for any other

offense related to the event(s) that resulted in the charge(s) contained in the Indictrnent.

The State of Alaska has agreed to dismiss the charges against the defendant in State              of
Alaska v. Andrew, 4BE-21-00654C& if defendant is convicted and sentenced under this

plea agreement.

        Pursuant to U.S.S.G.        lBl.2(c), the parties agree that factual   basis would have

supported conviction for additional offenses including: to Receipt of Child Pomography,

in violation of l8 U.S.C. g 2252A(a)(2), Production of Visual Depictions of a Minor

Engaging in Sexually Explicit Conduct of l8 U.S.C. g 2251(a), and Transfer of Obscene

Material to      a   Minor, in violation of l8 U.S.C.   S 1470.

        The defendant will waive all rights to appeal the conviction(s) and sentence

imposed under this agreement. The defendant will also waive all rights to collaterally

attack the conviction(s) and sentence, except on the grounds of ineffective assistance            of
counsel or the voluntariness ofthe plea(s).




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         B.     Federal Rule of Criminal Procedure             ll
         Unless the parties otherwise inform the Court in writing, Federal Rule of Criminal

Procedure     ll(c)(l)(A)   and @)   will control this plea agreement. Thus, the defendant may

not withdraw from this agreement or the guilty plea(s) if the Court rejects the parties'

sentencing recommendations at the sentetcing hearing.

I        CHARGES, ELEMENTS, FACTUAL BASIS, STATUTORY PENALTIES
         AI\D OTHER MATTERS AFFECTING SENTENCE

         A.     Charges

                l.     The defendant agrees to plead guilty to the following count(s) of

                       the Indictment:

         Count I : Coercion and Enticement of        a   Minor,   a   violation of 18 U.S.C. 5 2422(b)

         B.     Elements

         The elements of the charge(s) in Count I to which the defendant is pleading guilty

are as   follows:

                l.     The Defendant knowingly used a facility or means of interstate

                       commerce to persuade, induce, entice and coerce an individual under

                       the age of eighteen to engage in sexual activity;

                2.     Such individual was less than eighteen (18) yean ofage; and

                3.     The Defendant could have been charged with a criminal offense

                       under the laws of the State of Alaska for engaging in the specified

                       sexual activity, including but not limited to Sexual Abuse of a Minor

                       in the Second Degree, in violarion of Alaska Statute 1 1.41.436(a)(l).



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        C.      Factual Basis

        The defendant admits the truth ofthe allegations in Count lofthe Indictment and

the truth ofthe following statement, and the parties stipulate that the Court may rely upon

this statement to support the lactual basis for the guilty plea(s) and for the imposition         of

the sentence:

        Between November     l,      2020 and July 10,2021, the defendant, a 42 year old man,

was in a sexual relationship with       VICTIM I, who turned 15 years old in March of 2021.

During this period, while residing in Napakiak, the defendant contacted VICTIM              1   via

Facebook Messenger and text messaging to rurange times and places to have sex. The

defendant made repeated requests to meet at multiple locations in and around Napakiak

to have sex. Many of these meetings actually occurred, during which the defendant had

sex   with VICTIM   1.


        Between November 1,2020 and July             l0,202l,the     defendant sent multiple series

of text messages requesting VICTIM          I   send him nude, sexually explicit, videos and

photos of herself. Between May 11, 2021 and July 10,2021, at the defendant's direction,

VICTIM I     sent him three images and 12 videos depicting           VICTIM I masturbating. Each

of the images and videos were close-ups of VICTIM l's vaginal area and showed her

touching and/or penetrating her vagina with her fingers. All ofthese images appeared to

be in response to about 78 messages the defendant sent, in which he asked for sexually

explicit images of MCTIM        l.
        Between May 11,2021 and June 22,2021 ,the defendant also knowingly sent

VICTIM 1 multiple photos of his penis via text            message.

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       At all relevant times, the defendant knew VICTIM I was under the age of      16.

       D.     Statutory Penalties and Other Matters Affecting Sentence

               l.     Statutorv Penalties

       The maximum statutory penalties applicable to the charges to which the defendant

is pleading guilty, based on the facts to which the defendant   will admit in support ofthe

guilty plea(s), are as follows:

               Count 1 : 18 U.S.C. $ $ 2422(b) (Coercion and Enticement of a Minor)

               1) 10 years (mandatory minimum) to life imprisonment;

              2) a $250,000 fine;

               3) 5 years (mandatory minimum) to lifetime supervised release;

              4) a $100 mandatory special assessment; and

               5) a $5,000 additional special assessment.




               2-     Other Matters Affecting Sentence

                      a.      Conditions Affecting the Defendant's Sentence

       The following conditions may also apply and affect the defendant's sentence: 1)

pusuant to Comment 7 of United States Sentencing Guidelines (U.S.S.G). $ 581.2, the

Court may impose an additional fine to pay the costs to the government of any

imprisonment and supervised release term; 2) pursuant to 18 U.S.C. $ 3612(f), unless

otherwise ordered, if the Court imposes a fine of more than $2,500, interest will be

charged on the balance not paid within 15 days after the judgment date; 3) upon violating

any condition of supervised release, a further term of imprisonment equal to the period   of
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the supervised release may be imposed, with no credit for the time already spent on

supervised release; 4) the Court may order the defendant to pay restitution pursuant to

the 18 U.S.C. g 3663 and U.S.S.G. $ 5E1.1, and         if   18 U.S.C. S 36634 (mandatory

restitution for certain crimes) applies, the Court shall order the defendant to pay

restltutlon.

                      b.        Payment of Special Assessment

        The defendant agrees to pay the entire special assessment in this case on the day

the Court imposes the sentence.      All payments will       be by check or money order, and are

to be delivered to the Clerk of Court, United States District Court, 222 W . 7rh Ave. Box

4, Rm. 229, Anchorage, AK 995 l3-7 564.

                      c.       Consequences of Felony Conviction

       Any person convicted ofa federal felony offense may lose or be denied federal

benefrts including any grants, loans, licenses, food stamps, welfare or other forms        of
public assistance, as well as the right to own or possess any hrearms, the right to vote, the

right to hold public office, and the right to sit on   a    jury. If applicable, any defendant who

is not a United States citizen may be subject to deportation from the United States

following conviction for   a   criminal offense, be denied citizenship, and not permitted to

return to the United States unless the defendant specifically receives the prior approval       of
the United States Attomey General. In some circumstances, upon conviction for a

criminal offense, any defendant who is     a   naturalized United States citizen may suffer

adverse immigration consequences, including but not limited to possible denaturalization.




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         E.     Restitution

         The parties have no agreement on restitution. However, the defendant agrees that

his conduct is govemed by the Mandatory Restitution Act pursuant to 18 U.S.C.

$   3663A(c)(1XA)(ii) and agrees to pay the full amount of restitution to all victims

affected by this offense, including, but not limited to, the victims covered in the facnral

basis, victims covered in those counts to be dismissed as part ofthe plea agreement

pursuant to l8 U.S.C. $ 3663A(a)(3), and other victims as a result ofthe defendant's

conduct for the offenses charged in the Indictment.

         F.     Sex Registration / DNA Testing

         Defendant understands that by pleading guilty, defendant will be required to

register as a sex offender upon his release from prison as a condition of supervised

release pursuant   to l8 U.S.C.   $   3583(d). Defendant also understands that independent of

supervised release, he   will be subject to federal and state   sex offender registration

requirements, and that those requirements may apply throughout his         life.   The defendant

understands that he shall keep his registration current, shall notifu the state sex offender

registration agency or agencies of any changes to defendant's name, place ofresidence,

employment, or student status, or other relevant information. Defendant shall comply

with requirements to periodically veri$ in person his sex offender registration

information. Defendant understands that he will be subject to possible federal and state

penalties for failure to comply with any such sex offender registration requirements.

Defendant further understands that, under 18 U.S.C. g a042(c), notice will be provided to

certain law enforcement agencies upon his release from confinement following

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conviction. As   a   condition of supervised release, defendant shall initially register with

the state sex oflender registration in Alask4 and shall also register with the state sex

offender registration agency in any state where defendant resides, is employed, works, or

is a student, as directed by the Probation Officer. The defendant shall comply with all

requirements of federal and state sex offender registration laws, including the

requirement to update his registration information. Defendant shall provide proofof

registration to the Probation Offrcer within 72 hours of release from imprisonment.

IIL    ADVISORY UNITED STATES SENTENCING GUIDELII\ES, GUIDELINE
       APPLICATION AGREEMENTS, SENTENCING RECOMMENDATIONS

       A.     Advisory United States Sentencing Guidelines

       The Court must consult the advisory United States Sentencing Guidelines

(U.S.S.G). as well as the factors set forth in 18 U.S.C. g 3553(a) when considering the

sentence to impose. The U.S.S.G. do not establish the statutory maximum or minimum

sentence applicable to the offense(s) to which the defendant is pleading     guilty. The

U.S.S.G. are not mandatory and the Court is not bound to impose a sentence

recommended by the U.S.S.G.

       B.     GuidelineApplicationAgreements

       Pursuant to U.S.S.G. 1B1.2(c), the parties agree that factual basis would have

supported conviction for additional offenses including: Receipt of Child Pomography, in

violation of 18 U.S.C. 52252A(a\(2\, Production of Visual Depictions of a Minor

Engaging in Sexually Explicit Conduct of l8 U.S.C. g 2251(a), and Transfer of Obscene

Material to a Minor, in violation of 18 U.S.C. $ 1470.


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                1.       Acceptance of Responsibility

       Ifthe United      States concludes that the defendant has satisfied the criteria set out        in

U.S.S.G. $ 3El    .l   and the applicable application notes, the United States agrees to

recommend the defendant for a two level downward adjustment for acceptance                    of
responsibility and, if U.S.S.G. $ 381.1(b) applies, to move for the additional one level

adjustment for acceptance of responsibility. If, at any time prior to imposition of the

sentence, the United States concludes that the defendant has failed to             fully satisfy the

criteria set out in U.S.S.G.    S   3E1.1, or has acted in a manner inconsistent with acceptance

of responsibility, the United States will not make or, if already made, will withdraw this

recommendation and motion.

       C.       SentencingRecommendations

       The United States Probation Office (U.S.P.O)                will prepare the defendant's pre-

sentence report in which      it will include   a   recommended calculation of the defendant's

sentence range under the U.S.S.G. Both the United States and the defendant                 will have

the opportunity to argue in support       ofor in opposition to the guideline       sentence range

calculation the U.S.P.O. recommends, as well as present evidence in support of their

respective sentencing arguments.

       The parties are free to recommend to the Court their respective positions on the

appropriate sentence to be imposed in this case based on the stipulated facts set forth in

Section II.C, any additional facts established at the imposition of sentence hearing, the

applicable statutory penalty sections, the advisory U.S.S.G., and the sentencing factors

set forth   in l8 U.S.C.   $ 3553.

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       D.     Conditions of Supervised Release

       The parties agree that the following Special Conditions of supervised release listed

below, in addition to any other Standard and Special Conditions which the Court deems

appropriate, shall be applied in this case:

              l.      PornographyProhibition

       The defendant shall not possess any obscene material, child pomography, child

erotic4 or nude images ofminors. Any such material found in the defendant's possession

shall be considered contraband and may be confiscated by the probation officer.

              2.      Sexual Disorders Treatment

       The defendant shall participate in a program of treatment for sexual disorders,

including periodic polygraph examinations, as directed by the probation officer. The

Court authorizes the release of the presentence report and available psychological

evaluations to the mental health provider, as approved by the probation offrcer.

              3.      No Unsupervised Contact with Minors

       The defendant shall not have any unsupervised contact with any minor child,

unless the contact has been disclosed to and approved by the probation      officer. In

determining whether to approve such contacts involving members of the defendant's

family, the probation officer shall determine if the defendant has notified the persons

having custody ofany such minors about his conviction in this case and the fact that he is

under supervision.   Ifthis notification   has been made, and   ifthe person having custody

consents to the contact, then this condition is not intended to prevent approval of the

contact-

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              4.     Consent to Searches

       The defendant shall submit to the search by the probation oflicer of his person,

vehicle, oflice/business, residence, and property, including any computer systems and

Intemet enabled devices, whenever the probation officer had a reasonable suspicion that a

violation ofa condition of supervision or other unlawful conduct may have occurred or

be underway   involving the defendant. Other law enforcement may assist         as necessary.

The defendant shall submit to the seizure of contraband found by the probation officer.

The defendant shall warn other occupants the premises may be subject to searches.

              5.     Computer Monitoring

       The defendant shall consent, at the direction of the probation officer, to having

installed on his computer(s), cellular telephones, electronic devices, and any hardware or

software, systems to monitor his use of these items. Monitoring will occur on a random

and/or regular basis. The defendant   will wam other occupants of the existence ofthe

monitoring software placed on his computer(s), phones and electronic devices. To

promote the effectiveness of this monitoring, the defendant shall disclose in advance         of

its use all cellular phones, electronic devices, computers, and any hardware to the

Probation Officer and may not access or use any undisclosed equipment.

IV.    ADDITIONAL AGREEMENTS BY I]NITED STATES

       In exchange for the defendant's guilty plea(s) and the Court's acceptance ofthe

defendant's plea(s) and the terms of this agreement, the United States agrees that it     will

not prosecute the defendant further for any other offense   -   now known   -   arising out   of



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the subject ofthe investigation related to the charges brought in the Indictment in this

case and the defendant's admissions set     forth in Section II.C.

       Provided, however, ifthe defendant's guilty plea(s) or sentence is/are rejected,

withdrawn, vacated, reversed, set aside, or modified, at any time, in any proceeding, for

any re:rson, the United States   will be free to prosecute the defendant on all charges arising

out of the investigation of this case including any charges dismissed pursuant to the terms

of this agreement, which charges will be automatically reinstated as well as for perjury

and false statements. The defendant hereby agrees that he/she waives any defense that

the statute of limitations bars the prosecution of such a reinstated charge.

v      WAIVER OF TRIAL RIGHTS, APPELLATE RIGHTS, COLLATERAL
       ATTACK RIGHTS, CLAIM FOR ATTORNEY FEES AND COSTS, AND
       RULE 4IO

       A.     Trial Rights

       Being aware of the following, the defendant waives these trial rights:

                  Ifpleading to an Information, the right to have the charges presented to

                  the grand jury prior to entering the guilty plea;

                  The right to a speedy and public trial   byjury on the factual    issues

                  establishing guilt or any fact affecting the mandatory minimum and

                  statutory penalties, and any issue affecting any interest in any assets

                  subject to forfeiture;

                  The right to object to the composition of the grand or trial jury;

                  The right to plead not guilty or to persist in that plea   if it has already

                  been made;

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                  -   The right to be presumed innocent and not to suffer any criminal penalty

                      unless and until the defendant's guilt is established beyond a reasonable

                      doubt;

                  -   The right to be represented by counsel at trial and if necessary to have a

                      counsel appointed at public expense to represent the defendant at trial   -
                      the defendant is not waiving the right to have counsel continue to

                      represent the defendant during the sentencing phase of this case;


                  -   The right to confront and cross examine witnesses against the defendant,

                      and the right to subpoena witnesses to appear in the defendant's behalf;


                  -   The right to remain silent at trial, with such silence not to be used

                      against the defendant, and the right to testiff in the defendant's own

                      behalf; and

                  -   The right to contest the validity of any searches conducted on the

                      defendant's property or person.

         B.       Appellate Rights

         The defendant waives the right to appeal the conviction(s) resulting from the entry

of guilty plea(s) to the charges set forth in this agreement. The defendant further agrees

that if the Court imposes a sentence that does not exceed the statutory maximum penalties

-   as set   forth in Section II.D above in this agreement, the defendant waives without

exception the right to appeal on all grounds contained in 18 U.S.C. $ 3742 the sentence

the Court imposes. The defendant understands that this waiver includes, but is not

limited to, forfeiture (if applicable), terms or conditions of probation (if applicable) or
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supervised release, any hnes or restitution, and any and all constitutional (or legal)

challenges to defendant's conviction(s) and guilty plea[s], including arguments that the

statute(s) to which defendant is pleading guilty (is/are) unconstitutional, and any and all

claims that the statement of facts provided herein is insufficient to support defendant's

plea[s] of guilty.

       Should the defendant file a notice of appeal in violation of this agreement, it         will

constitute a material breach of the agreement. The govemment is free to reinstate any

dismissed chmges, and withdraw any motions for downward departures, or sentences

below the mandatory minimum made pursuant to l8 U.S.C. $ 3553(e).

       C.      Collateral Attack Rights

       The defendant agrees to waive all rights to collaterally attack the resulting

conviction(s) and./or sentence   -   including forfeiture (ifapplicable) or terms or conditions

of probation (if applicable) or supervised release. and any fines or restitution the Court

imposes. The only exceptions to this collateral attack waiver are as follows:       l)   any

challenge to the conviction or sentence alleging ineffective assistance of counsel        -   based

on information not now known to the defendant and which, in the exercise of reasonable

diligence, could not be known by the detendant at the time the Court imposes sentence;

and 2) a challenge to the voluntariness ofthe defendant's guilty plea(s).

       D.      Claim for Attorney Fees and Costs

       Because this is a negotiated resolution     olthe   case, the parties waive any claim     for

the award of attorney fees and costs from the other party.




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         E.     Evidence Rule 410 and Fed. R. Crim. P.         ll(f)
         By signing this agreement, the defendant admits the truth of the facts in the

Factual Basis portion ofthis agreement set forth in Section II.C. The defendant agrees

that the statements made by him in signing this agreement shall be deemed usable and

admissible against the defendant as stipulations in any hearing, trial or sentencing that

may follow. The foregoing provision acts as a modification, and express waiver,         of
Federal Rule of Evidence 4 I 0 and Fed. R. Crim. P. 1 1(f), and is effective upon the

defendant's in-court admission to the factual basis supporting the plea(s). This provision

applies regardless of whether the court accepts this plea agreement.

         F.     Potential Plea before Magistrate Judge

         The defendant has the right to enter a plea before a United States District Court

Judge. The defendant, defense counsel, and the attorney for the Govemment consent to

have the defendant's plea(s) taken by a United States Magistrate Judge pursuant to Fed.

R. Cr. P.   l1 and 59. The parties understand that if the Magistrate    Judge recommends that

the plea(s) of guilty be accepted, a pre-sentence investigation report     will be ordered

pursuant to Fed. R. Crim. P. 32. The parties agree to file objections to the Magistrate

Judge's Report and Recommendation within seven calendar days, thereby shortening *re

time for objections set forth in Fed.   R Crim.   P. 59. The   District Court Judge will decide

whether to accept this plea agreement at the time it imposes sentence in the case. The

defendant agrees that if the defendant is pleading guilty to an offense described in 18

U.S.C. $ 3142(0(1XA), (B), or (C) (involving a crime of violence, a crime punishable by

a   maximum s€ntence of life or death, or a Title   2l   controlled substance offense for which

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the maximum sentence is ten years or more). that the defendant         will remand into custody

on the day that he/she agrees in court to the factual basis supporting the plea. The

defendant further agrees not to seek release at any time between the date of the guilty

plea before the Magistrate Judge and the date of imposition of sentence before the

District Court Judge.

VI.    ADEQUACYOFTHEAGREEMENT

       Pursuant to Local Criminal Rule I1.2(d)(7) and (8), this plea agreement is

appropriate in that it conforms with the sentencing goals that would otherwise be

applicable to the defendant's case if the defendant had gone to trial and had been

convicted on all counts in the charging instrument.

VIL    THE DEFENDANT'S ACCEPTANCE OF THE TERNIS OF THIS PLEA
       AGREEMENT

       I, Melvin Andrew, the defendant, affirm this document contains all of the

agreements made between me      -   with the assistance of my attorney - and the United

States regarding my plea(s). There are no other promises, assurances, or agreements the

United States has made or entered into with me that have affected my decision to enter

any plea of guilty or to enter into this agreement. If there are any additional promises,

assur:mces, or agreements, United States and    I will jointly inform the Court in writing

before I enter my guilty plea(s).

       I understand that no one, including my attomey, can guarantee the outcome of my

case or what sentence the Court may impose      ill   plead   guilty. If anyone, including my




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attomey, has done or said anything other than what is contained in this agreanent, I                will

inform the Court when I stand before it to enter my plea.

          I enter into this agreement understanding and agreeing that the conditions set forth

herein are obligatory and material to this agreement and that any failure on my part to

fulfill   these obligations   will constitute   a   material breach of this agreement. If I breach

this agreement, I agree the United States, in its sole discretion, may withdraw from this

agteement and may reinstate prosecution against me on any charges arising out ofthe

investigation in this matter. If my compliance with the terms of this plea agreement

becomes an issue, at an appropriate hearing, during which I agree any of my disclosures

will   be admissible, the Court     will determine whether or not I have violated the terms of

this agreement. I understand the government's burden to prove a breach will be by a

preponderance of the evidence.

          I understand the Court will ask me under an oath to answer questions about the

offense(s) to which I am pleading guilty and my understanding of this plea agreement. I

understand that I may be prosecuted         ifl     make false statements or give false answers and

may suffer other consequences set forth in this agreement.

          I have read this plea agreement carefully and understand it thoroughly. I know of

no reason why the Court should find me incompetent to enter into this agreement or to

enter my plea(s). I enter into this agreernent knowingly and voluntarily. I understand

that anything that I discuss with my attorney is privileged and confidential, and cannot be

revealed without my permission. Knowing this, I agree that this document               will   be   filed

with the Court.

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       I am fully satisfied with the representation given me by my attomey and am

prepared to repeat this statement at the time I stand before the Court and enter my guilty

plea(s). My attorney and I have discussed all possible defenses to the charge(s) to which

I am pleading guilty. My attorney has investigated my      case and   followed up on any

information and issues I have raised to my satisfaction. My attomey has taken the time to

fully explain the legal and factual issues involved in my case to my satisfaction. We have

discussed the statute(s) applicable to my offense and sentence as well as the possible

effect the U.S.S.G. may have on my sentence.

       Based on my complete understanding of this plea agreement, I therefore admit that

I am guilty of I - Coercion and Enticement of   a   Minor, in violation of l8 U.S.C.

s 2422(b).



DATED:       L-3t-L3                                ?v/e C,L
                                                    MELVINANDREW
                                                    Defendant




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         As counsel for the defendant, I have conveyed all formal plea offers. I have

discussed the terms of this plea agreement with the defendant, have fully explained the

charge(s) to which the defendant is pleading guilty, the necessary elements thereto, all

possible defenses, and the consequences of a guilty plea to a felony. Based on these

discussions, I have no reason to doubt that the defendant is knowingly and voluntarily

entering into this agreement and entering a plea of guilty. I know of no reason to

question the defendant's competence to make these decisions. If, prior to the imposition

ofsentence, I become aware ofany reason to question the defendant's competency to

enter into this plea agreement or to enter a plea of guilty, I   will immediately inform the

court.


DATED:                 ?3
                                                                 STAFT
                                                   Attorney for Melvin Andrew


       On behalf of the United States, the following accepts the defendant's offer to plead
guilty under the terms of this plea agreement.




                                                   S.LANE TUCKER
                                                   United States Attomey


                                                                  a/
DATED:       z/a/zs                                SETH       CKEY
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